CASESAIATADAASMOR-HICC DOcoment3II1B Mite 1OMBLS RageLat2

_ UNITED STATES DISTRICT COURT |
NORTHERN DISTRICT OF FLORIDA
PENSACOLA DIVISION

IN RE: 3M COMBAT ARMS
EARPLUG:PRODUCTS LIABILITY
LITIGATION

Case No. 3:19-md-02885
2220 ew AZOLA -—MC-H1C

Judge M. Casey Rodgers _

This Document Relates to:
Magistrate Judge Hope T. Cannon

)
)
)
) .
)
' All Cases )
)

“NOTICE OF INTENT TO APPEAR AT FAIRNESS HEARING = > ---> > >
~ REGARDING PROPOSED STOCK ISSUANCES (PRO SE) - eo

Pursuant to the MDL Court’s Order setting the Fairness Hearing Regarding
. Proposed Stock Issuances, ECF No. 3911, Da. he El ele be x intends
“to attend the hearing on December 11, 2023 at 9:00 a.m. (CST) in person and ask —

the MDL Court to be heard on this matter.

DATED: {1 7 ZO, 2023 Respectfully submitted,
By: Saad Ebebster _
Printed Name: Oasis F Webster

Email: eweb: G 20.coW
Phone: Z\S 4] lS 208 |
Pro Se

=ASe, 3:19-md-02885-MCR- HTC Document 3949: Filed 11/27/23. P el we a
\ ro CHATTY. TAMMIE. TH age 2 be Rs

— : \ 2G Mee

One Mocth Prlatox Skreet

Fitt h F leor | Court reo
Pemsacola, Fl 32 S502.- 5bb2
